Case 5:21-cr-20548-JEL-EAS ECF No. 29, PageID.119 Filed 09/28/21 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                  No. 21-20548

      v.                                       Honorable Judith E. Levy

PHILLIP CAPE,

                   Defendant.
                                       /

STIPULATION TO EXTEND PLEA CUTOFF/PRETRIAL CONFERENCE
            AND TRIAL DATES AND REQUESTING
             FINDING OF EXCLUDABLE DELAY

      THE PARTIES STIPULATE to continue dates in this case, as follows:

      (1)   The final pretrial conference and plea cutoff date from October 12,

            2021 at 10:30 a.m.., to November 16, 2021 at 3:30 p.m.;

      (2)   The trial date from October 25, 2021 at 8:30 a.m. to November 29, 2021

            at 8:30 a.m.

      THE PARTIES FURTHER STIPULATE, and jointly move for the Court to

find that the time period from October 25, 2021 through and including November

29, 2021, qualifies as excludable delay under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7), because the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial. The



                                           1
Case 5:21-cr-20548-JEL-EAS ECF No. 29, PageID.120 Filed 09/28/21 Page 2 of 6




parties’ reasons for the continuance and for a finding of excludable delay are as

follows:

             On February 21, 2020, the Court signed a criminal complaint charging

Phillip Cape with receipt of child pornography, under 18 U.S.C. § 2252A(a)(2) and

possession of child pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B).

             On February 21, 2020, Cape appeared for his initial appearance, and

consented to detention pending trial;

             Counsel for the parties engaged in extensive pre-indictment plea

negotiations in this matter;

             On August 23, 2021, Cape was charged in an Information with

attempted coercion and enticement of a minor, in violation of 18 U.S.C. § 2422(b);

             On September 2, 2021, this Court entered a scheduling order in this

case, setting the plea cutoff/pretrial conference for October 12, 2021 at 10:30 a.m.,

and the trial date for October 25, 2021 at 8:30 a.m.;

             On September 27, 2021, counsel for the parties communicated via

email. Counsel for the defendant indicated that she would need additional time meet

in person with his to review discovery and discuss potential resolutions in this

matter. The parties will also need additional time to conduct plea negotiations, based

on those discussions.




                                          2
Case 5:21-cr-20548-JEL-EAS ECF No. 29, PageID.121 Filed 09/28/21 Page 3 of 6




              Overall, a continuance of the date of the pretrial conference/plea cutoff,

and the trial date is necessary to allow defense counsel additional time to conduct

client consultation, and discuss the possibility of a plea agreement in this case. The

ends of justice served by continuing the pretrial conference/plea cutoff, and trial

dates outweigh the best interests of the public and defendant in a speedy trial. 18

U.S.C. § 3161(h)(7)(A).

       Accordingly, the parties request that this Honorable Court find that the ends

of justice served by the granting of this continuance outweigh the best interests of

the public and Defendant in a speedy trial, and agree to adjourn dates as indicated in

this stipulation.

       The parties also request that the Court make an ends of justice finding that the

time period from October 25, 2021 to and including November 29, 2021, qualifies

as excludable delay under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).

IT IS SO STIPULATED.

 /s/ Meghan Sweeney Bean                       /s/ Mark Satawa (with consent)
 Meghan Sweeney Bean                           Mark Satawa
 Assistant U.S. Attorney                       Counsel for the Defendant
 211 W. Fort Street, 2001                      26777 Central Park Blvd., Suite 325
 Detroit, MI 48226                             Southfield, MI 48076
 (313) 226-0214                                (248) 356-8320
 Meghan.bean@usdoj.gov                         mark@satawalaw.com


Dated: September 27, 2021



                                           3
Case 5:21-cr-20548-JEL-EAS ECF No. 29, PageID.122 Filed 09/28/21 Page 4 of 6




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                  No. 21-20548

      v.                                       Honorable Judith E. Levy

PHILLIP CAPE,

                   Defendant.
                                       /

       ORDER EXTENDING PLEA CUTOFF/PRETRIAL CONFERENCE
                   AND TRIAL DATES AND
               FINDING OF EXCLUDABLE DELAY

      Having reviewed and considered the stipulation of the parties, and the Court,

having been fully advised by the respective parties;

      IT IS HEREBY ORDERED that dates in this matter shall be adjourned and

continued, as follows:

    The final pretrial conference and plea cutoff date from October 12, 2021 at

      10:30 a.m.., to November 16, 2021 at 3:30 p.m.;

    The trial date from October 25, 2021 at 8:30 a.m. to November 29, 2021 at

      8:30 a.m.

      IT IS FURTHER ORDERED that the time period from October 25, 2021 to

November 29, 2021, shall be deemed excludable delay under the provisions of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7), and that the ends of justice served by
                                           1
Case 5:21-cr-20548-JEL-EAS ECF No. 29, PageID.123 Filed 09/28/21 Page 5 of 6




granting this continuance outweigh the best interests of the public and the defendants

in a speedy trial. The Court does find that an ends of justice continuance is

appropriate for the following reasons:

      1.     On February 21, 2020, the Court signed a criminal complaint charging

Phillip Cape with receipt of child pornography, under 18 U.S.C. § 2252A(a)(2) and

possession of child pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B).

      2.     On February 21, 2020, Cape appeared for his initial appearance, and

consented to detention pending trial;

      3.     Counsel for the parties engaged in extensive pre-indictment plea

negotiations in this matter;

      4.     On August 23, 2021, Cape was charged in an Information with

attempted coercion and enticement of a minor, in violation of 18 U.S.C. § 2422(b);

      5.     On September 2, 2021, this Court entered a scheduling order in this

case, setting the plea cutoff/pretrial conference for October 12, 2021 at 10:30 a.m.,

and the trial date for October 25, 2021 at 8:30 a.m.;

      6.     On September 27, 2021, counsel for the parties communicated via

email. Counsel for the defendant indicated that she would need additional time meet

in person with his to review discovery and discuss potential resolutions in this

matter. The parties will also need additional time to conduct plea negotiations, based

on those discussions.

                                          2
Case 5:21-cr-20548-JEL-EAS ECF No. 29, PageID.124 Filed 09/28/21 Page 6 of 6




      7.     Overall, a continuance of the date of the pretrial conference/plea cutoff,

and the trial date is necessary to allow defense counsel additional time to conduct

client consultation, and discuss the possibility of a plea agreement in this case. The

ends of justice served by continuing the pretrial conference/plea cutoff, and trial

dates outweigh the best interests of the public and defendant in a speedy trial. 18

U.S.C. § 3161(h)(7)(A).

      The Court finds that an ends of justice continuance is necessary to allow

defense counsel additional time to conduct client consultation, and discuss the

possibility of a plea agreement in this case. The ends of justice served by continuing

the pretrial conference/plea cutoff, and trial dates outweigh the best interests of the

public and defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

      This order shall not affect any previous order of pretrial detention or pretrial

release.

      SO ORDERED.

Date: September 28, 2021                             s/Judith E. Levy
                                                     JUDITH E. LEVY
                                                     United States District Judge




                                          3
